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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     GENUS LIFESCIENCES INC.,                           Case No. 18-cv-07603-WHO
                                                         Plaintiff,
                                   8
                                                                                            ORDER GRANTING LANNETT'S
                                                 v.                                         MOTION TO DISMISS IN PART AND
                                   9
                                                                                            DENYING IN PART; GRANTING
                                  10     LANNETT COMPANY, INC., et al.,                     FIRST DATABANK'S MOTION TO
                                                                                            DISMISS; DENYING MOTION FOR
                                                         Defendants.                        RECONSIDERATION
                                  11

                                  12                                                        Re: Dkt. Nos. 55, 64, 66
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                                  13
                                              Plaintiff Genus Lifesciences Inc. (“Genus”) complains that its competitors in the market
                                  14
                                       for cocaine hydrochloride nasal spray, defendants Lannett Company Inc. (“Lannett”) and Cody
                                  15
                                       Laboratories, Inc. (“Cody”), Lannett’s wholly owned subsidiary, falsely advertise, market and
                                  16
                                       promote their product (which is not approved by the United States Food and Drug Administration)
                                  17
                                       and unfairly compete with it in ways that violate the law. Genus also sues First Databank, Inc.
                                  18
                                       (“First Databank”), a pharmaceutical pricing list company. On defendants’ prior motions to
                                  19
                                       dismiss, I found that some of Genus’s claims against Lannett and Cody were plausibly stated but
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                                       that none of its claims against First Databank were. Order Granting Lannett Company, Inc.’s and
                                  21
                                       Cody Laboratories, Inc.’s Motion to Dismiss in Part and Denying in Part; Granting First Databank,
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                                       Inc.’s Motion to Dismiss (“Order”) [Dkt. No. 53]. I dismissed each claim with leave to amend,
                                  23
                                       except for Genus’s contributory false advertising claim against First Databank, which I dismissed
                                  24
                                       with prejudice.
                                  25
                                              Genus has now filed an amended complaint. First Amended Complaint (“FAC”) [Dkt. No.
                                  26
                                       54]. It has also filed a motion for reconsideration related to my dismissal with prejudice of its
                                  27
                                       contributory false advertising claim against First Databank. [Dkt. No. 55]. Lannett and Cody,
                                  28
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                                   1   jointly, and First Databank move to dismiss the FAC. [Dkt. Nos. 64, 66]. For the reasons stated

                                   2   below, Lannett and Cody’s motion to dismiss is granted in part and denied in part, First

                                   3   Databank’s motion to dismiss is granted, and Genus’s motion to reconsider is denied.

                                   4                                             BACKGROUND

                                   5   Factual Background

                                   6          My previous Order contains a detailed factual background; I incorporate it by reference.1

                                   7   Order at 2-8. Genus manufactures an FDA approved spray under the brand name GOPRELTO®

                                   8   (“Goprelto”) and Lannett and Cody manufacture an unapproved spray under the brand name C-

                                   9   Topical® (“C-Topical”). Genus newly alleges in the FAC that it has conducted a survey of

                                  10   Lannett’s customers, revealing that 73.4% of them falsely believe that C-Topical is FDA

                                  11   approved. FAC at ¶ 10. The survey also shows that 70.4% of Lannett’s customers falsely believe

                                  12   that Lannett only sells FDA approved products. Id. Genus uses this survey evidence to bolster its
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                                  13   claims that C-Topical’s packaging and labelling, as well as Lannett’s websites, are unlawfully

                                  14   misleading. Id. at ¶¶ 106-128. In addition, Genus alleges new survey data related to whether C-

                                  15   Topical’s unapproved status is material to its customers. Id. at ¶¶ 153-154.

                                  16          In the FAC, Genus asserts: (i) new false advertising allegations based on several of

                                  17   Lannett’s advertisements which describe C-Topical as a “pre-1998” drug (Id. at ¶¶ 47, 52, 67-82;

                                  18   Exhibits 34-37 attached to FAC [Dkt. No. 54-2); (ii) new allegations that Lannett’s product

                                  19   catalog identifies C-Topical as generic (Id. at ¶ 105); (iii) new allegations related to other listing

                                  20   companies (Id. at ¶¶ 133-135); (iv) additional allegations related to First Databank’s practices and

                                  21   communications with Genus (Id. at ¶¶ 137-149, 169-205, 218-220); and (v) additional allegations

                                  22   in support of its Sherman Act claims against Lannett (Id. at ¶¶ 227-238).

                                  23   Procedural Background

                                  24          In the Order, I granted Lannett and Cody’s motion to dismiss in part and denied it in part.

                                  25

                                  26   1
                                         Of note, on May 7, 2017, Genus quotes Lannett as stating: “Upon the recent request of the FDA
                                  27   to cease manufacturing and distributing our unapproved C-Topical product as a result of an
                                       approved product on the market, the Company has agreed to cease manufacturing its unapproved
                                  28   C-Topical 4% on June 15, 2019 and cease distributing the product on August 15, 2019.” Id. at ¶
                                       51. Lannett’s counsel confirmed that at the hearing on August 21, 2019.
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                                   1   On Genus’s Lanham Act claims against Lannett and Cody, I ruled: (i) Genus may plead a false

                                   2   advertising claim against Lannett based on the implication that C-Topical is approved using

                                   3   survey data that 91% of pharmacists believe that all products pharmacists dispense are FDA

                                   4   approved; (ii) statements in SEC filings and investor calls that C-Topical is “grandfathered” or

                                   5   sold under a “preliminary new drug application” cannot support a Lanham Act claim without

                                   6   specific allegations that they were made for the purpose of influencing customers of cocaine

                                   7   hydrochloride solutions to buy C-Topical, or were disseminated sufficiently to the relevant

                                   8   purchasing public (pharmacists, hospitals, and doctors) to constitute “advertising” or “promotion”

                                   9   within the pharmaceutical industry; (iii) C-Topical’s indication for oral, laryngeal, or nasal topical

                                  10   administration is false because the FDA defines a “topical” route of administration as to a

                                  11   particular spot on the outer surface of the body and the mucus membranes of the oral, laryngeal,

                                  12   and nasal cavities are not on the outside of the body; (iv) Lannett’s failure to affirmatively identify
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                                  13   C-Topical as unapproved to third party intermediaries and customers was sufficient to state a

                                  14   claim as to customers based on the survey data, but not as to third party intermediaries without

                                  15   further supporting allegations; (v) the meta description on C-Topical’s website that it was generic

                                  16   could support a Lanham Act claim because the landing page would not disabuse a consumer of the

                                  17   notion that C-Topical is generic; (vi) general statements on Lannett’s website were not false but

                                  18   could be misleading in context combined with allegations that they conveyed the implied message

                                  19   that C-Topical was grandfathered or sold with FDA approval and deceived a significant portion of

                                  20   recipients; (vii) general statements on Cody’s website related to compliance with FDA

                                  21   requirements could support a Lanham Act claim because Cody’s website contained an

                                  22   affirmatively false statement that its active pharmaceutical ingredients were FDA approved; and

                                  23   (viii) the appearance and content of C-Topical’s labeling and packaging could not support a

                                  24   Lanham Act claim because they did not constitute an overt false statement and Genus failed to

                                  25   allege that the advertising actually conveyed the implied message that C-Topical was FDA

                                  26   approved and deceived a significant portion of recipients. Order at 9-20.

                                  27          Turning to Genus’s Sherman Act claims against Lannett, I found that that Genus failed to

                                  28   state a monopolization claim against Lannett based on false advertising for two reasons. Id. at 22-
                                                                                          3
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                                   1   23. First, Genus did not allege over what time period Lannett’s meta description was online, how

                                   2   long the challenged statements were on Cody’s website, or how long Lannett described C-Topical

                                   3   as having a “topical” route of administration. Id. Genus also failed to allege why these statements

                                   4   were not readily susceptible to neutralization by rivals. Id. Next, Genus’s monopolization claim

                                   5   based on Lannett’s listing practices failed because Genus did not allege that it had been

                                   6   substantially foreclosed from the entire cocaine hydrochloride market. Id. at 23-24. Finally,

                                   7   Genus’s state law claims against Lannett under California’s false advertising and unfair

                                   8   competition laws survived because they were premised on the same allegations of false advertising

                                   9   as Genus’s Lanham Act claims. Id. at 25.

                                  10           I granted First Databank’s motion to dismiss on several grounds. Genus’s false advertising

                                  11   claim failed because Genus was unable to allege that First Databank was anything more than a

                                  12   reference database. Id. at 27-30. First Databank’s listing of C-Topical did not constitute
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                                  13   commercial speech since it did not propose a commercial transaction between First Databank and

                                  14   consumers of cocaine hydrochloride. Id. Genus failed to allege that Lannett and First Databank

                                  15   had a quid-pro-quo relationship based on C-Topical’s sales. Id. Its contributory false advertising

                                  16   claim against First Databank failed under the tests in Duty Free Ams., Inc. v. Estée Lauder Cos.,

                                  17   797 F.3d 1248, 1275 (11th Cir. 2015) and ADT Sec. Servs., Inc. v. Sec. One Int’l, Inc., No. 11-cv-

                                  18   05149-YGR, 2012 WL 4068632, at *1 (N.D. Cal. Sept. 14, 2012). For the Duty-Free test, Genus

                                  19   did not allege that First Databank knowingly induced or caused Lannett’s conduct or materially

                                  20   participated in it. Id. at 30-33. Under the ADT Services test, Genus did not allege that First

                                  21   Databank either induced the primary Lanham Act violation by Lannett, or that First Databank

                                  22   continued to supply an infringing product to Lannett. The claims I dismissed against Lannett,

                                  23   Cody and First Databank were with leave to amend, except for Genus’s contributory false

                                  24   advertising claim against First Databank, which was dismissed with prejudice. Id. at 33.

                                  25                                           LEGAL STANDARD

                                  26           Under Federal Rule of Civil Procedure 12(b)(6), a district court must dismiss a complaint

                                  27   if it fails to state a claim upon which relief can be granted. To survive a Rule 12(b)(6) motion to

                                  28   dismiss, the plaintiff must allege “enough facts to state a claim to relief that is plausible on its
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                                   1   face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially plausible when

                                   2   the plaintiff pleads facts that “allow the court to draw the reasonable inference that the defendant

                                   3   is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation

                                   4   omitted). There must be “more than a sheer possibility that a defendant has acted unlawfully.” Id.

                                   5   While courts do not require “heightened fact pleading of specifics,” a plaintiff must allege facts

                                   6   sufficient to “raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555, 570.

                                   7           In deciding whether the plaintiff has stated a claim upon which relief can be granted, the

                                   8   court accepts the plaintiff's allegations as true and draws all reasonable inferences in favor of the

                                   9   plaintiff. Usher v. City of Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987). However, the court is

                                  10   not required to accept as true “allegations that are merely conclusory, unwarranted deductions of

                                  11   fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.

                                  12   2008). If the court dismisses the complaint, it “should grant leave to amend even if no request to
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                                  13   amend the pleading was made, unless it determines that the pleading could not possibly be cured

                                  14   by the allegation of other facts.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000).

                                  15                                              DISCUSSION

                                  16   I.      LANNETT AND CODY’S MOTION TO DISMISS

                                  17           A.     The Lanham Act Claims

                                  18                  1.      Lanham Act Claims and FDA Approval
                                  19           The Lanham Act creates a private right of action for competitors to bring claims for false

                                  20   or misleading advertising, even if the challenged products are regulated by the FDCA. POM

                                  21   Wonderful LLC v. Coca-Cola Co., 134 S. Ct. 2228, 2233 (2014). “Courts can evaluate Lanham

                                  22   Act claims that do not require specialized knowledge or interpretation of the FDCA’s

                                  23   requirements.” Belcher Pharm., LLC v. Hospira, Inc., No. 17-cv2353, 2018 WL 4643292, at *4

                                  24   (M.D. Fla. Apr. 9, 2018). “For example, courts can review a claim that a competitor falsely

                                  25   represented its product as FDA approved.” Id. (citing Innovative Health Sols., Inc. v. DyAnsys,

                                  26   Inc., Case No. 14-cv-05207-SI, 2015 WL 2398931, at *8 (N.D. Cal. May 19, 2015)). “And claims

                                  27   that involve whether a product’s advertising misleads consumers also fall within a court’s

                                  28   jurisdiction.” Id. (citing Church & Dwight Co. Inc. v. SPD Swiss Precision Diagnostics, 104 F.
                                                                                          5
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                                   1   Supp. 3d 348, 362 (S.D.N.Y. 2015).

                                   2           To state a false advertising claim under the Lanham Act, a plaintiff must allege: “(1) a

                                   3   false statement of fact by the defendant in a commercial advertisement about its own or another’s

                                   4   product; (2) the statement actually deceived or has the tendency to deceive a substantial segment

                                   5   of its audience; (3) the deception is material, in that it is likely to influence the purchasing

                                   6   decision; (4) the defendant caused its false statement to enter interstate commerce; and (5) the

                                   7   plaintiff has been or is likely to be injured as a result of the false statement, either by direct

                                   8   diversion of sales from itself to defendant or by lessening of the goodwill associated with its

                                   9   products.” Wells Fargo & Co. v. ABD Ins. & Fin. Servs., Inc., 758 F.3d 1069, 1071-72 (9th Cir.

                                  10   2014) (citing Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997)).

                                  11   Plaintiffs must allege all five elements of the test in order to state a false advertising claim. Id.

                                  12   “When the alleged representation is not an overt false statement, but merely misleading in context,
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                                  13   the evidentiary showing required to sustain a Lanham claim is higher” and “proof that the

                                  14   advertising actually conveyed the implied message and thereby deceived a significant portion of

                                  15   the recipients becomes critical.” JHP Pharm., LLC v. Hospira, Inc., 52 F. Supp. 3d 992, 1002-03

                                  16   (C.D. Cal. 2014) (citing William H. Morris Co. v. Grp. W, Inc., 66 F.3d 255, 258 (9th Cir. 1995)).

                                  17           Courts have found that when a Lanham Act claim is based on the mere implication that a

                                  18   drug was approved by the FDA, a plaintiff must also plead other facts to show that customers were

                                  19   actually confused. Par Sterile Prod., LLC v. Fresenius Kabi USA LLC, No. 14-cv3349, 2015 WL

                                  20   1263041, at *4 (N.D. Ill. Mar. 17, 2015). In Par, the court found the following additional

                                  21   allegations to state a Lanham Act claim: (i) that buyers believe all prescribed drugs identified on

                                  22   the Price Lists are FDA approved and (ii) that in some surveys 91% of pharmacists are actually

                                  23   confused about whether all drugs that appear on industry price lists are approved. Id. at *4.

                                  24                   2.      Statements Made in SEC Filings and Investor Calls
                                  25           In the Order, I held that statements made by Lannett in its SEC filings or by its directors

                                  26   during investment calls stating that C-Topical was “grandfathered” or sold under a “preliminary

                                  27   new drug application” were not actionable because they were not accompanied by specific

                                  28   allegations that they were made for the purpose of influencing the customers of cocaine
                                                                                           6
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                                   1   hydrochloride solutions to buy C-Topical, or were disseminated sufficiently to the relevant

                                   2   purchasing public (pharmacists, hospitals, and doctors) to constitute “advertising” or “promotion”

                                   3   within the pharmaceutical industry. Order at 12-14 (citing Rice v. Fox Broadcasting Co., 330 F.3d

                                   4   at 1170, 1181 (9th Cir. 2003)). Lannett moves again to dismiss Genus’s attempted revival of its

                                   5   claims based on SEC filings and statements made on investor calls. Defendant Lannett Co. Inc. &

                                   6   Cody Laboratories, Inc.’s Notice of Motion, Motion to Dismiss the First Amended Complaint

                                   7   (“Lan. MTD”) at 7-8 [Dkt. No. 64]. It argues that Genus’s conclusory allegations that these

                                   8   communications constitute “commercial statements” or were “advertised to customers” do not

                                   9   change the non-commercial nature of these statements. Id. (citing FAC at ¶¶ 55, 64).

                                  10           Genus contends that its claim is not based on the statements in SEC filings or investor calls

                                  11   alone. Instead, it attempts to bring those claims in combination with the advertisements describing

                                  12   C-Topical as a “pre-1938” product (the “pre-1938 ads”) and that together, this renders the
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                                  13   statements contained in the SEC filings and investor calls actionable. Plaintiff Genus

                                  14   Lifesciences, Inc.’s Brief in Opposition to Lannett Company, Inc.’s and Cody Laboratories, Inc.’s

                                  15   Motion to Dismiss First Amended Complaint (“Lan. Oppo.”) at 6-9 [Dkt. No. 68]. According to

                                  16   Genus, “this is all one claim” because it must be read in the context of the overall complaint. Id.

                                  17   at 6.

                                  18           The problem with Genus’s argument is that Lanham Act claims must be evaluated on a

                                  19   statement-by-statement basis. Johnson & Johnson Vision Care, Inc. v. 1-800 Contacts, Inc., 299

                                  20   F.3d 1242, 1247-48 (11th Cir. 2002). In Johnson & Johnson, the Third Circuit reviewed a district

                                  21   court decision that reviewed several advertisements together, rather than on an ad-by-ad basis. Id.

                                  22   The court ruled that although “a court must analyze the message conveyed in full context,” courts

                                  23   “may not assume context” and the district court erroneously assumed that consumers would be

                                  24   exposed to every advertisement in the campaign. Id. (internal citations and quotation marks

                                  25   omitted).

                                  26           Here, Genus improperly asks me to assume context. There is no indication that consumers

                                  27   would have observed the SEC filings and statements in the investor calls along with the pre-1938

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                                   1   ads. It would be improper to assume that they did without specific supporting factual assertions.2

                                   2          As I held in the Order, Genus has failed to state a false advertising claim based on

                                   3   Lannett’s statements in SEC filings or investor calls because it fails to bring specific allegations

                                   4   that they were made for the purpose of influencing customers or were disseminated sufficiently to

                                   5   the relevant purchasing public. It does not follow that just because consumers might have seen the

                                   6   pre-1938 ads, they necessarily would also have seen the SEC filings or listened to the investor

                                   7   calls. The pre-1938 ads will be considered separately from the SEC filings and investor calls.

                                   8   Lannett’s motion to dismiss Genus’s Lanham Act claims based on SEC filings and investor calls is

                                   9   granted.

                                  10                  3.      The Pre-1938 Ads
                                  11          As discussed above, Genus attached four new C-Topical advertisements by Lannett to the

                                  12   FAC. FAC at ¶¶ 68-76; Exhibits 34-37. All four describe C-Topical as a pre-1938 drug (Exhibits
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                                  13   34-37) and three also state that “A New Drug Application (NDA), with clinical study data has

                                  14   been submitted to the FDA” (Exhibits 35-37). These advertisements appeared on

                                  15   www.lannettdirect.com (Exhibit 34) and on www.entjournal.com (Exhibits 35-37).

                                  16          Lannett argues that these advertisements are not actionable because Genus has not

                                  17   plausibly alleged that customers were misled by the statements or that “pre-1938” status was

                                  18   material to customers. Lan. MTD at 12-13. It contends that Genus makes an unsupported

                                  19   inferential leap to claim that purchasers equate “pre-1938” with “grandfathered,” or “FDA

                                  20   authorization.” Id. To plead materiality, Lannett claims that Genus must plausibly allege that the

                                  21   statement “pre-1938” is likely to influence purchasing decisions and its allegations that FDA

                                  22   approval status is material do not cover these statements. Id. It points out that the ad on

                                  23   www.lannettdirect.com also states that “Cocaine HCL is a pre-1938 drug that has not been

                                  24   approved by the FDA” and the ENT Journal advertisements state that Cocaine HCL “has not been

                                  25   proven safe and effective by the FDA.” Id. It does not address the statements related to

                                  26
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                                       2
                                        Genus’s authority on this point is not relevant. Lan. Oppo. at 6 (citing Brown v. Collections
                                       Bureau of Am., Ltd, 183 F. Supp. 3d 1004, 1006 (N.D. Cal. 2016) (Seeborg, J.) (case involves no
                                  28   Lanham Act false advertising claims with multiple advertisements); Evans v. Gilmore, No. 15-cv-
                                       01772-MEJ, 2015 WL 4463747, at *9 (N.D. Cal. July 21, 2015) (same).
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                                   1   submission of an NDA and clinical study data to the FDA.

                                   2           In opposition to Lannett’s argument that customers would not equate “pre-1938” with

                                   3   “grandfathered,” Genus asserts that: (i) C-Topical’s customers would know that 1938 is the year

                                   4   Congress passed the landmark Federal Food, Drug, and Cosmetic Act; (ii) Lannett equates the two

                                   5   and repeatedly used the phrase “1938 ‘grandfather clause’” in its citizen petition to the FDA; (iii)

                                   6   the FDA used the same language to deny Lannett’s petition; (iv) if Lannett’s customers would not

                                   7   understand what pre-1938 means, Lannett would not use the phrase; and (v) Genus specifically

                                   8   alleged that “pre-1938”means the drug is “grandfathered” and FDA authorized. Lan. Oppo. at 7

                                   9   n.8. These arguments apply to the claim related to submission of an NDA and clinical data as

                                  10   well. Id. at 9.

                                  11           I agree that Genus has sufficiently alleged that people in the market for a prescription drug

                                  12   such as C-Topical would know what “pre-1938” means in this context or what the implication of
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                                  13   submitting clinical data pursuant to an NDA would be. It has sufficiently alleged that the only

                                  14   reason Lannett would advertise C-Topical as “pre-1938,” or that they had submitted an NDA,

                                  15   would be to convince consumers that C-Topical is an unapproved “grandfathered” drug product or

                                  16   otherwise authorized by FDA.3

                                  17           Genus counters that Lannett’s materiality argument erroneously conflates FDA approval

                                  18   with FDA authorization. Id. It states that a “pre-1938” drug, or one that has a submitted NDA, is

                                  19   FDA authorized, not FDA approved. Id. at 7-9. Thus, Genus claims, even where Lannett admits

                                  20   it has no FDA approval for C-Topical, it still falsely suggests that C-Topical is otherwise

                                  21   authorized. Id. And Genus asserts that it has adequately pleaded that customers would care

                                  22   whether C-Topical was sold with FDA authorization because it has alleged that the FDA approval

                                  23   status of a prescription drug is material to customers since approved drugs provide customers

                                  24   assurance concerning the quality of the product not afforded to unapproved prescription drugs. Id.

                                  25

                                  26   3
                                         Genus also argues that both the statements that “C-Topical is a pre-1938 drug” and “Cocaine
                                  27   HCL has not been proven safe and effective by FDA” are literally false and are therefore
                                       presumed deceptive. Id. 7-8. Genus contends that the approval of its Goprelto product shows that
                                  28   Cocaine HCL has been proven safe and effective by the FDA. Id. Lannett does not respond to
                                       this argument. The claims based on literal falsity survive.
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                                   1   It cites to its survey evidence showing that the majority of Lannett’s customers would not buy C-

                                   2   Topical if they knew it was unapproved. Id. Therefore, according to Genus, because customers

                                   3   care whether a drug is FDA-approved, they implicitly care whether the FDA authorizes a

                                   4   manufacturer to sell a drug. Id.

                                   5          I agree with Genus’s argument up until the final leap of logic. Genus has adequately

                                   6   alleged that customers care about FDA approval. But I am also persuaded by Lannett’s argument

                                   7   on the difference between approval and authorization. The complaint does not allege that

                                   8   customers care about FDA authorization and Genus’s argument that they must implicitly care

                                   9   about it is a bridge too far. Genus has not actually pleaded that FDA authorization, versus

                                  10   approval, is material to customers of cocaine hydrochloride. As a result, it has not stated a claim

                                  11   based on the pre-1938 ads. Its claims based on these ads are dismissed with leave to amend.

                                  12                  4.      C-Topical’s Labeling and Packaging
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                                  13          In the Order, I held that Genus had failed to state a claim based on the appearance and

                                  14   content of C-Topical’s labeling and packaging and the allegedly misleading similarities between it

                                  15   and the labeling and packaging of an FDA approved drug. Order at 19-20. I held that because the

                                  16   alleged representation was not an overt false statement, but was merely misleading in context,

                                  17   Genus would have to allege that it actually conveyed the implied message that C-Topical was

                                  18   FDA approved and deceived a significant portion of recipients. Id. In response to that guidance,

                                  19   Genus conducted a survey of Lannett’s customers; allegedly 73.4% of them falsely believed that

                                  20   C-Topical was FDA approved after reviewing its packaging. AC at ¶¶ 112, 114.

                                  21          In its motion to dismiss, Lannett claims that this additional factual allegation is still

                                  22   insufficient because Genus does not allege that any of the information on the label or package is

                                  23   false. Lan. MTD at 8-10. According to Lannett, while the Lanham Act forbids misleading as well

                                  24   as false claims, “misleading” does not include “factual propositions that are susceptible to

                                  25   misunderstanding.” Id. It asks me to disregard Genus’s survey allegations because a survey

                                  26   cannot be used to ascribe a “misleading” meaning to an otherwise accurate statement. Id. It

                                  27   claims that it is required by federal law to include the various statements on the packaging and

                                  28   label and that under Genus’s theory, Lannett could only avoid liability by eliminating essential
                                                                                         10
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                                   1   information. Id. Finally, it attacks Genus’s survey, claiming that Genus failed to disclose which

                                   2   customers were surveyed. Id.

                                   3          Lannett’s attack on the merits of the survey evidence fails at the motion to dismiss stage.

                                   4   Lan. Oppo. at 12. While it may later attack the survey’s methodology and findings successfully, it

                                   5   may not do so now. Its attempt to reframe Genus’s claim as contesting specific true statements on

                                   6   C-Topicals labeling and packaging also misrepresents Genus’s claim; Genus instead attacks the

                                   7   overall combination of C-Topical’s packaging as misleading consumers to believe that it is an

                                   8   FDA approved product. Id.

                                   9          Further, Lannett’s authority that Genus’s survey cannot be used to ascribe a “misleading”

                                  10   meaning to an otherwise true statement is distinguishable, and not just because that is not what

                                  11   Genus is attempting to do. In Mead Johnson & Co. v. Abbott Labs., 201 F.3d 883, 886-87 (7th

                                  12   Cir.), opinion amended on denial of reh’g, 209 F.3d 1032 (7th Cir. 2000), the statement alleged to
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                                  13   be misleading was the description of a particular infant formula as being the “1st Choice of

                                  14   Doctors.” Id. at 883. The parties disputed whether this implied to consumers that a majority of

                                  15   physicians strongly preferred the product for strictly professional reasons when some surveys only

                                  16   showed plurality support. Id. at 884. The Seventh Circuit found that the district court improperly

                                  17   used the plaintiffs survey to define the meaning of the phrase “1st Choice of Doctors.” Id. at 887.

                                  18   Genus is not using survey data to parse a particular phrase and establish that it is misleading, and

                                  19   Mead is unhelpful.

                                  20          Allergan USA Inc. v. Imprimis Pharm., Inc., No. 17-cv-1551, 2018 WL 5919210, at *6

                                  21   (C.D. Cal. Apr. 30, 2018) is not persuasive either. There, the challenged claim was whether it was

                                  22   misleading to describe a product that was FDA-approved as such when the defendant had not

                                  23   perfectly complied with federal laws. That is not the situation here. Genus is not attempting to

                                  24   challenge particular statements on the C-Topical’s labelling or packaging.

                                  25          Finally, I am unpersuaded by Lannett’s argument that it is protected from Genus’s claims

                                  26   because it is required to include certain information on the package or label. This supposed

                                  27   dilemma could be remedied by including a statement that C-Topical is not FDA-approved without

                                  28   running afoul of FDA labelling requirements.
                                                                                        11
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                                   1          Lannett’s motion to dismiss Genus’s Lanham Act claims based on C-Topical’s labelling

                                   2   and packaging is denied.

                                   3                  5.     General Statements on Lannett’s Website
                                   4          In the Order, I held that general statements on Lannett’s website that it complied with FDA

                                   5   regulatory requirements were not associated with, or made in reference to, C-Topical, and were

                                   6   not false. Order at 17-18. But I held that they could be misleading in context if combined with

                                   7   allegations that they actually conveyed the implied message that C-Topical was grandfathered or

                                   8   sold with FDA approval and deceived a significant portion of recipients. Id. Genus has amended

                                   9   its complaint with survey evidence to show that after reviewing Lannett’s homepage for its

                                  10   www.lannett.com website, 70.4% of Lannett’s customers falsely believed that Lannett sells only

                                  11   drugs that are FDA approved. AC at ¶¶ 124-125.

                                  12          Lannett counters in two ways. Lan. MTD at 11-12. First, it attacks Genus’s survey,
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                                  13   arguing that the results say nothing about whether Lannett’s statements actually conveyed the

                                  14   implied message that C-Topical was sold with FDA approval. Id. It contends that Genus’s survey

                                  15   does not allege that participants were asked if the general statements on Lannett’s website led

                                  16   them to believe that C-Topical was approved by the FDA, particularly given that the C-Topical

                                  17   page links to information stating that it is unapproved. Id. Second, it argues that its compliance

                                  18   with FDA regulatory requirements is squarely within the primary jurisdiction of the FDA and may

                                  19   not form the basis of a Lanham Act claim. Lan. MTD at 11-12.

                                  20          Genus points out that its survey provided numerous examples of customers identifying

                                  21   Lannett’s website as the cause of their false belief that Lannett only sells FDA-approved drug

                                  22   products. Lan. Oppo. at 13. The FAC lists a number of responses to the question “What makes

                                  23   you say Lannett sells only drugs that are FDA approved?” such as “Website mentions generic

                                  24   medications, giving impression that they are selling already FDA approved pharmaceuticals” and

                                  25   “based on the first page, it is a generic drug manufacturer. Generic drugs still require FDA

                                  26   approval.” FAC at ¶ 124. I agree with Genus that this survey evidence is sufficient and again

                                  27   reject Lannett’s attempts to dispute Genus’s methodology at the pleading stage. Regarding

                                  28   Lannett’s second argument, as I held in the Order, “Courts can evaluate Lanham Act claims that
                                                                                        12
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                                   1   do not require specialized knowledge or interpretation of the FDCA’s requirements.” Order at 9

                                   2   (citing Hospira, 2018 WL 4643292, at *4). This includes a “claim that a competitor falsely

                                   3   represented its product as FDA approved.” Id. (citing Innovative Health, 2015 WL 2398931, at

                                   4   *8).

                                   5           Lannett’s motion to dismiss claims based on statements on its website is denied.

                                   6                  6.      Claims Related to the Route of Administration
                                   7           In the Order, I held that pursuant to the FDA’s Data Standards Manual for Route of

                                   8   Administration, C-Topical’s label contained an affirmative misrepresentation. Order at 14-15.

                                   9   The FDA’s manual states that a “topical” route is “[a]dministration to a particular spot on the outer

                                  10   surface of the body[,]” while C-Topical’s label states that it is “indicated for the introduction of

                                  11   local (topical) anesthesia of accessible mucous membranes of the oral, laryngeal and nasal

                                  12   cavities.” Id. I reasoned that because the inside of the nose, mouth, and larynx are not “particular
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                                  13   spots on the outer surface of the body[,]” C-Topical’s route of administration could not accurately

                                  14   be described as “topical” under the FDA’s definitions. Id.

                                  15           Despite this ruling, Lannett moves again to dismiss claims based on C-Topical’s route of

                                  16   administration, arguing that Genus also describes Goprelto as “For Topical Use Only” at the

                                  17   FDA’s direction, and therefore cannot plausibly allege that C-Topical’s route of administration is

                                  18   false. Lan. MTD at 13-15. Instead, Lannett claims, Genus complains that C-Topical’s description

                                  19   of uses for C-Topical is different than the FDA-approved label for Goprelto, which only lists a

                                  20   nasal route of administration. Id. And, according to Lannett, Genus does not allege any facts

                                  21   suggesting that Lannett’s description of its product being for “oral, nasal, and laryngeal” use is

                                  22   false. Id.

                                  23           Lannett’s new argument is foreclosed under the consolidation rule pursuant to Federal

                                  24   Rule of Civil Procedure 12(g). As the court in In re Anthem, Inc. Data Breach Litig., No. 15-MD-

                                  25   02617-LHK, 2016 WL 3029783, at *44 (N.D. Cal. May 27, 2016) observed:

                                  26                  Federal Rule of Civil Procedure 12(g)(2) states that “[e]xcept as
                                                      provided in Rule 12(h)(2) or (3), a party that makes a motion under
                                  27                  this rule must not make another motion under this rule raising a
                                                      defense or objection that was available to the party but omitted from
                                  28                  its earlier motion.” Federal Rule of Civil Procedure 12(h)(2), in turn,
                                                                                         13
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                                                      provides that arguments which pertain to a plaintiff's “[f]ailure to state
                                   1                  a claim upon which relief can be granted . . . may be raised: (A) in
                                                      any pleading allowed or ordered under Rule 7(a); (B) by a motion
                                   2                  under Rule 12(c); or (C) at trial.” To summarize, under Rule 12(g)(2)
                                                      and Rule 12(h)(2), a party that seeks to assert a defense that was
                                   3                  available but omitted from an earlier Rule 12 motion can only do so
                                                      in a pleading, a Rule 12(c) motion, or at trial.
                                   4
                                       While Lannett states that its argument is based on “newly provided exhibits,” that assertion is not
                                   5
                                       well taken. The label and packaging for Goprelto was included in its initial complaint. Complaint
                                   6
                                       at ¶¶ 31, 32 [Dkt. No. 1]. Lannett could have raised this argument in its initial motion to dismiss
                                   7
                                       and failed to. On this ground alone, Lannett’s motion to dismiss based on C-Topical’s route of
                                   8
                                       administration arguments is denied.4
                                   9
                                               Lannett’s argument is also wrong on the merits. There is a distinction between the FDA’s
                                  10
                                       technical meaning of “topical” for routes of administration with the ordinary meaning of the word
                                  11
                                       “topical.” Lan. Oppo. at 15-18. Even if Goprelto is labeled “for topical use only,” that does not
                                  12
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                                       mean that its route of administration is also topical. Genus’s use of “topical” is consistent given
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                                  13
                                       that its product is a nasal solution, for “topical” use, and has a “nasal” route of administration.
                                  14
                                       Lannett, in contrast, describes C-Topical as a topical solution, for topical use, and with a “topical”
                                  15
                                       route of administration. For the reasons stated in the Order, this is false.
                                  16
                                                      7.      Statements to Third Parties
                                  17
                                               I previously held that Genus failed to allege that Lannett violated the Lanham Act by not
                                  18
                                       identifying C-Topical as unapproved to third party intermediaries because it did not include any
                                  19
                                       supporting allegations that third parties were misled into believing that C-Topical was approved.
                                  20
                                       Order at 15-16. I held that McKesson’s description of C-Topical did not state that it was
                                  21
                                       unapproved and thus did not weigh in favor of, nor against, a finding that Lannett had misled
                                  22
                                       McKesson. Id. I also found that since the price lists have C-Topical’s unapproved status
                                  23
                                       “buried,” that would support a finding that Lannett had correctly informed the price lists that C-
                                  24
                                       Topical was an unapproved drug. Id. But I found that Lannett’s description of C-Topical as
                                  25
                                       “topical” to pricing lists was a false statement. Id.
                                  26
                                  27
                                       4
                                  28    Lannett claims that it may raise its argument based on newly provided exhibits attached to the
                                       FAC. Lan. MTD at 13-14. But Goprelto’s label has always stated that it is “for topical use only.”
                                                                                       14
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                                   1          Lannett argues that Genus has not remedied the identified defects and that exhibits

                                   2   attached to the amended complaint demonstrate that Lannett told pricing list companies that C-

                                   3   Topical is unapproved. Lan. MTD at 15-17. Lannett points to two exhibits. Id. The first is

                                   4   Exhibit 45, which Genus identifies as a document from First Databank. [Dkt. No. 54-2]. Under

                                   5   the field titled “FDA NSDE Marketing Category[,]” it describes C-Topical as “UNAPPROVED

                                   6   DRUG OTHER.” Id. at 3. The second is Exhibit 46, which Genus identifies as a document from

                                   7   the Medi-Span price list. [Dkt. No. 54-2]. Under the field titled “Drug Application Information

                                   8   (“FDA”)” it also describes C-Topical as “UNAPPROVED DRUG OTHER.” Id. at 2.

                                   9          In response, Genus argues that it has added allegations that support its claims that Lannett

                                  10   has McKesson advertise C-Topical as “generic.” Lan. Oppo. at 18-19 (citing FAC at ¶ 130;

                                  11   Exhibit 46 at 2). Genus notes that despite identifying that C-Topical is unapproved, both First

                                  12   Databank and Medi-Span still promote it as generic. Id. (citing to Exhibits 45, 46).
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                                  13          It is not clear if exhibits 45 and 46 promote C-Topical as generic. Without a better

                                  14   explanation from Genus, I find that the exhibits do not support an inference that Lannett has

                                  15   misrepresented its product to these pricing lists as generic. Genus’s claim that Lannett has

                                  16   misrepresented the route of administration to third parties survives but its claim that Lannett has

                                  17   misrepresented C-Topical as generic is dismissed with leave to amend.

                                  18                  8.      Statements in Lannett’s Catalog
                                  19          Genus raises a new Lanham Act claim based on Lannett’s product catalogs from 2016,

                                  20   2014, and 2010, each of which characterizes C-Topical as “generic.” FAC at ¶ 105; Exhibits 38,

                                  21   39, 40. Lannett moves to dismiss because Genus has not pleaded any facts to suggest that these

                                  22   product catalogs were available to customers after Genus entered the market. Lan. MTD at 17-18.

                                  23   Lannett contends that in order to have standing, Genus must allege that the statements contained in

                                  24   these catalogs proximately caused “an injury to a commercial interest in sales or business

                                  25   reputation[.]” Id. (citing Lexmark Int’l v. Static Control Components, Inc., 572 U.S. 118, 140

                                  26   (2014)). According to Lannett, Genus must plead facts suggesting that “statements made prior to

                                  27   its entry into the market continued to have a market effect, such that it suffered competitive injury

                                  28   as a result of those statements once it entered.” Id. (citing Dyson, Inc. v. Garry Vacuum, LLC, No.
                                                                                        15
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                                   1   10-01626, 2011 WL 13268002, at *5-6 (C.D. Cal. Jan. 4, 2011); Sigma Dynamics, Inc. v. E.

                                   2   Piphany, Inc., No. 04-cv-0569-MJJ, 2004 WL 2648370, at *4 (N.D. Cal. June 25, 2004).

                                   3          Genus responds that Lannett has not averred that it removed the statements from any 2017,

                                   4   2018, or 2019 catalogs or stopped using its 2016 catalog after Goprelto was approved by the FDA

                                   5   in 2017. Lan. Oppo. at 9-10. It notes that it was able to find Lannett’s 2016 catalog as late as

                                   6   April 2019 and that Lannett has not produced more recent marketing materials. Id. It also argues

                                   7   that Lannett misreads its complaint; it is alleging that Lannett not only misled, but currently

                                   8   misleads, customers with its catalogs. Id. (citing FAC at ¶ 105 (“Lannett intentionally misleads

                                   9   customers by characterizing C-Topical as a “generic” in its product catalog.”)). It states that this is

                                  10   part of Lannett’s broader false advertising that C-Topical is generic across its meta-description,

                                  11   product page, product catalogs, and other statements. Id. It seeks to combine its allegations with

                                  12   its survey data. Id. It also argues that Lannett relied on outdated authority and that Dyson and
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                                  13   Sigma have been superseded by Lexmark, which holds that pleading proximate cause requires

                                  14   “economic or reputational injury flowing directly from the deception wrought by the defendant’s

                                  15   advertising” and that the deception causes consumers to withhold business from the plaintiff. Id.

                                  16   at 10-11 (citing 572 U.S. at 129-134). It states that it has done so by alleging that “[a]s a direct

                                  17   result” of Lannett’s various “false and misleading descriptions of fact, false and misleading

                                  18   representations, and false and deceptive advertising,” “Genus has suffered, currently suffers, and

                                  19   will continue to suffer” injury. Id. (citing FAC at ¶¶ 244, 252).

                                  20          Genus has failed to plead facts suggesting that these product catalogs are currently used by

                                  21   Lannett in advertising or promotion or made available to purchasers in any way. Id. That Genus

                                  22   was able to locate these older catalogs does not suggest otherwise. Its attempt to force Lannett to

                                  23   affirm that it no longer described C-Topical as generic in later catalogs is inappropriate at the

                                  24   pleading stage. Id.

                                  25          Further, I agree with Lannett that Dyson and Sigma are still good law and consistent with

                                  26   Lexmark. Id. at 11-12. Lexmark requires plaintiffs to allege “economic or reputational injury

                                  27   flowing directly from the deception wrought by the defendant’s advertising; and that that occurs

                                  28   when deception of consumers causes them to withhold trade from the plaintiff.” 572 U.S. at 133.
                                                                                         16
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                                   1   Genus would need to show how its injury flowed directly from these catalogs prior to it entering

                                   2   the market. There is no reason to think this is impossible, but the FAC’s use of the present tense

                                   3   does not meet Rule 9(b)’s specificity requirements. See FAC at ¶ 105 (“Lannett intentionally

                                   4   misleads customers by characterizing C-Topical as a “generic” in its product catalog.”). Genus’s

                                   5   argument that this is part of Lannett’s broader false advertising is also insufficient.

                                   6           Lannett’s motion to dismiss Genus’s false advertising claim based on Lannett’s 2016,

                                   7   2014, and 2010 catalogs is granted. If discovery reveals similar statements in catalogs used by

                                   8   Lannett after Genus entered the market, Genus may amend its complaint.

                                   9                   9.      Contributory False Advertising Claim Against Cody
                                  10           In the Order, I found that Genus’s contributory false advertising claim against Cody was

                                  11   adequately stated. Order at 19 (“Genus has sufficiently stated a claim for false advertising and

                                  12   contributory false advertising based on the statements contained on Cody’s website.”). Despite
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                                  13   this, Lannett and Cody again argue that this claim fails “not only because Genus fails to plausibly

                                  14   allege violations of the Lanham Act, but also because Genus pleads no [facts] suggesting that

                                  15   Cody contributed, caused, or participated in any allegedly misleading statement.” Lan. MTD at 7

                                  16   n.8. I will not revisit my earlier ruling.

                                  17           B.      The Sherman Act Claims

                                  18           In the Order, I dismissed Genus’s Sherman Act claims for failing to show that Lannett

                                  19   used its monopoly power to “to foreclose competition, to gain a competitive advantage, or to

                                  20   destroy a competitor.” Order at 20-25 (citing Eastman Kodak Co. v. Image Technical Servs., Inc.,

                                  21   504 U.S. 451, 482-83 (1992) (citation omitted)). Genus did not overcome the presumption that

                                  22   Lannett’s advertising had a de minimis effect on competition. Id. at 22-23.

                                  23           In its initial complaint, Genus did not adequately allege that Lannett’s statements were not

                                  24   readily susceptible to neutralization or offset by rivals. Id. at 23. Besides its attempts to get First

                                  25   Databank to change C-Topical’s CFI number, Genus did not show why other efforts to promote

                                  26   Goprelto failed or would not be successful. Id. It did not plausibly allege why it was incapable of

                                  27   pushing back on Lannett’s listing practices through other means. Id. Less significantly, Genus’s

                                  28   monopolization claim based on false advertising also failed to allege how long Lannett’s meta
                                                                                          17
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                                   1   description and the challenged statements on Cody’s website had been online or how long Lannett

                                   2   had described C-Topical as having a “topical” route of administration. Id. at 23. And its

                                   3   monopolization claim for listing practices failed because it did not establish that it had been

                                   4   substantially foreclosed from the entire cocaine hydrochloride market. Id. at 23-25. Genus merely

                                   5   described its efforts related to a single promotional channel, First Databank, and did not show that

                                   6   existing or potential alternative channels of promotion were also foreclosed. Id.

                                   7           In the FAC, Genus again brings its monopolization claims based on four things it claims

                                   8   Lannett does: (i) falsely characterizing C-Topical as having a “topical” route of administration in

                                   9   order to prevent customers from buying, or even becoming aware of Goprelto; (ii) preventing C-

                                  10   Topical from receiving the same product code as Goprelto by prohibiting First Databank from

                                  11   describing the solution as “nasal”; (iii) restricting access to true and complete information about

                                  12   available products in order to exclude competition by deceiving and misleading healthcare
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                                  13   professionals into believing that no competing cocaine hydrochloride solution product exists; and

                                  14   (iv) tricking doctors, patients, and other consumers into believing that C-Topical is FDA approved

                                  15   so they will not feel inclined to search for an FDA-approved alternative. FAC at ¶ 311.

                                  16                1. Monopolization Claim Based on False Advertising

                                  17           Lannett argues that Genus still fails to overcome the presumption that Lannett’s

                                  18   advertising had a de minimis effect on competition. Lan. MTD at 19-22. To plausibly allege that

                                  19   Lannett’s advertising constituted exclusionary conduct and overcome a presumption that the effect

                                  20   on competition was de minimis, a plaintiff must allege cumulative facts that would prove the

                                  21   statements were: (1) clearly false, (2) clearly material, (3) clearly likely to induce reasonable

                                  22   reliance, (4) made to buyers without knowledge of the subject matter, (5) continued for prolonged

                                  23   periods, and (6) not readily susceptible to neutralization or other offset by rivals. Am. Prof’l

                                  24   Testing Serv., Inc. v. Harcourt Brace Jovanovich Legal & Prof'l Publications, Inc., 108 F.3d 1147,

                                  25   1152 (9th Cir. 1997) (citation omitted). 5 Id. According to Lannett, Genus still does not plead

                                  26   facts to explain why an advertising campaign promoting Goprelto as the only FDA approved

                                  27
                                       5
                                  28    Lannett also makes arguments about the first four factors. Id. at 21. I have already rejected these
                                       arguments in my prior Order and do not need to revisit them. Order at 22-23.
                                                                                      18
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                                   1   cocaine hydrochloride product would not be successful, or why any efforts to tell customers that

                                   2   C-Topical is unapproved or that its route of administration is misleading would fail. Id. It

                                   3   characterizes Genus’s claims of exclusionary conduct as amounting to a complaint that customers

                                   4   are not becoming aware of Goprelto. Id. (citing FAC at ¶ 311).

                                   5          In opposition, Genus contends that Lannett’s conduct could not have been neutralized by

                                   6   traditional advertising because its false and misleading statements were being presented to the

                                   7   market through third-party price lists that appear to provide objective and unbiased information.

                                   8   Id. It also argues that it does not need to show that Lannett’s statements were not readily

                                   9   susceptible to neutralization or other offset because courts do not apply the test in Harcourt when

                                  10   a defendant employs a third party to give false and misleading information the appearance of

                                  11   objectivity and lack of bias. Id.

                                  12          The cases cited by Genus to argue that the test in Harcourt should not apply are not
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                                  13   helpful. For example, in TYR Sport, Inc. v. Warnaco Swimwear, Inc., 679 F. Supp. 2d 1120, 1127

                                  14   (C.D. Cal. 2009) plaintiff TYR and defendant Speedo were both designers and manufacturers of

                                  15   high-end swim wear for competitive swimmers. USA Swimming, the national governing body of

                                  16   the sport, hired co-defendant Mark Schubert to be the head coach of the national and Olympic

                                  17   teams. Id. Schubert was and remained a paid spokesperson for Speedo. Id. TYR alleged that a

                                  18   combination of Speedo and USA Swimming made USA Swimming a de facto sales agent for

                                  19   Speedo. Id. In exchange for payments from Speedo, USA Swimming allegedly agreed to act as a

                                  20   promoter for Speedo and to make false statements that Speedo’s products were “superior” and that

                                  21   its rivals’ products were “inferior.” Id. Schubert misled national team members by claiming that

                                  22   the Speedo suit provided “a 2% advantage” over the equipment made by Speedo’s rivals. Id.

                                  23   USA Swimming agreed to alter images of sponsored athletes to remove logos of Speedo’s

                                  24   competitors. Id. USA Swimming did not allow Speedo’s competitors to advertise in its official

                                  25   publication, sponsor USA Swimming-sanctioned meets, or to post signs at meets. Id. There were

                                  26   also allegations that Schubert went beyond criticism and threatened athletes who chose to wear

                                  27   TYR’s products by stating that they might not make it to the Olympics and that he might use his

                                  28   authority as head coach to mandate the use of Speedo’s equipment. Id. at 1131. Some athletes
                                                                                        19
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                                   1   followed through on Schubert’s recommendation that they breach their contracts with other

                                   2   equipment providers to avoid “staying home” during the Olympics. Id.

                                   3           It is unsurprising that the court in TYR found that the Harcourt test did not apply.

                                   4   Harcourt’s de minimis presumption was based on “buyer distrust of a seller’s disparaging

                                   5   comments about a rival seller [that] should caution us against attaching much weight to isolated

                                   6   examples of disparagement.” Id. at 1132 (citing Harcourt, 108 F.3d at 1152). It did not apply

                                   7   because the use of Schubert to make the disparaging statements gave the appearance of objectivity

                                   8   and lack of bias. Id. Even if his connection to Speedo was generally known, his coaching position

                                   9   may have given him added credibility that he otherwise would not have had solely as a Speedo

                                  10   spokesperson. Id.

                                  11           The facts in this case are quite different. Unlike Schubert, the price lists did not make

                                  12   disparaging or false comments about Goprelto that would be difficult to rebut. If anything, Genus
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                                  13   alleges that the pricing lists accurately describe Goprelto and inaccurately describe C-Topical.

                                  14   This is not the same as rebutting disparaging comments made by an ostensibly neutral third-party

                                  15   authority.6

                                  16           Killian Pest Control, Inc. v. HomeTeam Pest Defense, Inc., No. 14-cv-05239-VC 2015 WL

                                  17   13385918, at *4 (N.D. Cal. Dec. 21, 2015) is also of no help. That case involved rival pest control

                                  18   companies where one misled homeowners into thinking that service by the other would damage

                                  19   their home pest control systems and it physically placed locks on the systems to prevent access.

                                  20   Id. Nothing like that happened here.

                                  21           Lastly, Genus cites Fed. Trade Comm’n v. Qualcomm Inc., No. 17-cv-00220-LHK, 2019

                                  22   WL 2206013 (N.D. Cal. May 21, 2019) and Premier Elec. Constr. Co. v. Nat’l Elec. Contractors

                                  23

                                  24   6
                                         Genus also cites Prime Healthcare Servs., Inc. v. Serv. Emps. Int’l Union, No. 11-cv-02652,
                                  25   2012 WL 3778348, at *10 (S.D. Cal. Aug. 30, 2012) for the same proposition and it is
                                       inapplicable for the same reason. There, Prime Healthcare alleged that a competing healthcare
                                  26   provider and labor union conspired to eliminate Prime Healthcare’s market presence. Id. at *2.
                                       The union defendant published disparaging statements about Prime Healthcare’s quality of care
                                  27   and the healthcare provider defendant routinely cited these disparaging statements “as
                                       ‘independent’ evidence” of Prime Healthcare’s poor quality of care. Id. at *10. That is not the
                                  28   scenario described in this case.

                                                                                         20
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                                   1   Ass’n, 814 F.2d 358 (7th Cir. 1987) for the proposition that even if it could neutralize Lannett’s

                                   2   false advertising on the pricing lists by expending sufficient time and money on marketing to

                                   3   educate customers, this would impose a disproportionate burden on it due to Lannett’s use of

                                   4   objective third parties. Lan. Oppo. at 22 n.21. But again, the conduct in these cases is too

                                   5   dissimilar to support Genus’s argument that it need not allege that Lannett’s conduct is not readily

                                   6   susceptible to neutralization or offset. Qualcomm involved wholly dissimilar allegations related to

                                   7   a complex licensing scheme; the court did not even consider the Harcourt test. Premier involved

                                   8   the effect of non-union electrical workers underbidding union electrical workers because they did

                                   9   not have to pay dues. Again, the court did not consider the Harcourt test.

                                  10           Genus has not shown that Lannett’s advertising had more than a de minimis effect on

                                  11   competition. It fails to explain why an advertising campaign to promote Goprelto as the only FDA

                                  12   approved cocaine hydrochloride solution would not be effective. Its arguments are undercut by its
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                                  13   own survey data, which state: (i) “62.8% of Lannett’s customers acknowledged that if he or she

                                  14   was told that the cocaine hydrochloride solution product sold by Lannett was not FDA approved,

                                  15   that information would influence his or her decision about whether to purchase or dispense” C-

                                  16   Topical; and (ii) “60.6% of Lannett’s customers would be less likely to purchase, use, or dispense

                                  17   [C-Topical] if he or she had information that [C-Topical] was not FDA approved.” FAC at ¶¶

                                  18   153, 154.

                                  19           Additionally, Genus now alleges that Lannett has been making false and misleading

                                  20   representations that C-Topical has a topical route of administration since at least 2013. Lan Oppo.

                                  21   at 21 (citing FAC at ¶ 167). In support of this proposition, Genus cites only to Lannett’s SEC

                                  22   filings.7 FAC at ¶ 167. It has not shown that these filings were made for the purpose of

                                  23   influencing the customers of cocaine hydrochloride solution to buy C-Topical, or were

                                  24   disseminated sufficiently to the relevant purchasing public. They cannot be used to satisfy the

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                                       7
                                         “On information and belief, Lannett has described C-Topical as having a ‘topical’ route of
                                       administration since 2013. For example, in Lannett’s 2013 10-K filing to the U.S. Securities and
                                  27   Exchange Commission, the company described C-Topical as ‘an analgesic topical solution.’
                                       Lannett used identical language in its 2014, 2015, 2016, and 2017 10-K filings. In 2018, Lannett
                                  28   filed a 10-K document where it describes a competitor receiving approval to sell a ‘Cocaine
                                       Hydrochloride topical product’ that could interfere with Lannett’s ability to sell C-Topical.”
                                                                                        21
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                                   1   fifth prong of the Harcourt test.

                                   2          C. Monopolization Claim Based on Listing Practices

                                   3          Lannett claims that Genus’s monopolization claim based on its listing practices fails again

                                   4   for four reasons. Lan. MTD at 22-24. First, Genus has not alleged that Lannett denied it access to

                                   5   First Databank or Medi-Span. Instead, according to Lannett, Genus claims that it is able to

                                   6   correctly list its products on the pricing lists used by the three largest wholesalers and that

                                   7   essentially the entire market can access information about Goprelto by either searching for

                                   8   “cocaine hydrochloride” (which would show both products) or Goprelto (which would show only

                                   9   Genus’s product). Id. Lannett contends that Genus’s complaint rests on the narrow allegation that

                                  10   if a customer re-orders C-Topical or searches directly for it, they will not also be notified of

                                  11   Goprelto. Id. Second, Genus’s allegations relate only to a single promotional channel, namely

                                  12   price lists, and that there are no allegations that Lannett has prevented it from using other
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                                  13   promotional channels. Id. Third, Genus’s claim amounts to a complaint that it cannot free-ride

                                  14   off Lannett’s customers who specifically seek out C-Topical. Id. Fourth, Genus’s concern about

                                  15   customers being able to access “complete” and “accurate” information on price lists is false

                                  16   because it has petitioned First Databank to remove C-Topical from its price list entirely.

                                  17          Genus responds that it has sufficiently alleged that Lannett’s conduct affects all of the

                                  18   distribution channels through which cocaine hydrochloride is sold and therefore it has been

                                  19   excluded from the entire market. Lan. Oppo. at 23-25. It argues that because virtually all cocaine

                                  20   hydrochloride solution is purchased through the three largest drug wholesalers

                                  21   (AmerisourceBergen, Cardinal Health, and McKesson) and that all three wholesalers rely on First

                                  22   Databank and Medi-Span’s price lists, Lannett’s falsely identified route of administration impacts

                                  23   all distribution channels. Id. It contends that this does not affect the purchase decisions of only

                                  24   the “narrow subset of customers” described by Lannett because virtually all customers that look at

                                  25   either product must conclude that they do not share the same route of administration and would

                                  26   question whether they are equivalent and substitutable for the same procedure. Id. It asserts that

                                  27   this interferes with the primary purpose of the price lists, namely to collect accurate information

                                  28   regarding drug characteristics and pricing from a litany of sources so that doctors can easily
                                                                                         22
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                                   1   compare products on a single platform. Id.

                                   2          Genus also argues that even though its product is still listed on the price lists, substantial

                                   3   foreclosure does not require total foreclosure, and courts routinely find that foreclosure has

                                   4   occurred even when a competitor has access to the market. Id. According to Genus, Lannett’s

                                   5   decision to use misleading codes on First Databank and MediSpan’s price lists disproportionately

                                   6   harm potential competitors because it prevents customers from understanding that new cocaine

                                   7   hydrochloride solution products entering the market can be substituted for C-Topical. Id. It states

                                   8   that this burden is disproportional because it is not one that Lannett was forced to overcome and is

                                   9   insurmountable. Id. Genus cites to an email from Cardinal stating that because of the different

                                  10   routes of administration on the labels for Goprelto and C-Topical, customers purchasing C-Topical

                                  11   would not see Goprelto as a “cardkey equivalent.” Id. (citing Exhibit 51).

                                  12          Genus’s monopolization claim based on listing practices fails for largely the same reasons
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                                  13   as its claim based on Lannett’s advertising. It can still be found on the price lists that it alleges are

                                  14   the source of its problems. Its survey data show that if 60% of Lannett’s customers knew C-

                                  15   Topical lacked FDA approval they would not purchase it. FAC at ¶¶ 153, 154. It has not alleged

                                  16   that it has been prevented from educating Lannett’s customers about the approval status of C-

                                  17   Topical. Cocaine hydrochloride customers who are not simply reordering C-Topical would still

                                  18   be able to find Goprelto as well. Genus’s citation to Qualcomm is not persuasive for the reasons

                                  19   described above. Its citation to Church & Dwight Co., Inc. v. Mayer Labs., Inc., No. 10-cv-4429-

                                  20   EMC, 2011 WL 1225912, at *6 (N.D. Cal. Apr. 1, 2011) is similarly unhelpful. There, the alleged

                                  21   scheme involved rebates on condoms from the defendant manufacturer that incentivized drug

                                  22   stores to use a certain percentage of their display area on only the defendant’s condoms,

                                  23   preventing competitors from displaying their products. Id. at *2. Here, C-Topical’s listing on the

                                  24   price databases does not foreclose a large percentage of display space as it did with physical stores

                                  25   in Church. Both C-Topical and Goprelto are displayed on an online price database; unlike shelf

                                  26   space, an online price database is not a zero-sum display. Church is unhelpful to Genus. I dismiss

                                  27   Genus’s Sherman Act claims with prejudice.

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                                                                                          23
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                                   1           D.     The State Law Claims

                                   2           Lannett again moves to dismiss Genus’s California False Advertising and Unfair

                                   3   Competition Law claims because they are premised on the same allegations as the Lanham Act

                                   4   Claims. Lan. MTD at 24-25. The Order already rejected this argument. Genus has sufficiently

                                   5   pleaded violations of the Lanham Act. Order at 25. Lannett’s argument fails again for the same

                                   6   reason and its motion to dismiss state law claims is denied.

                                   7   II.     FIRST DATABANK’S MOTION TO DISMISS

                                   8           In the Order, I held that Genus’s Lanham Act claims against First Databank failed because

                                   9   a Lanham Act claim must be based on commercial speech and First Databank was not engaging in

                                  10   commercial speech when it listed C-Topical (or Goprelto) on its pricing list. Order at 25-30. I

                                  11   reasoned that First Databank does not propose a commercial transaction between it and customers

                                  12   of cocaine hydrochloride and Genus failed to allege that the information contained in its pricing
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                                  13   list was for the purpose of inducing Genus or Lannett’s customers to enter into a commercial

                                  14   transaction with First Databank. Id. at 27. I observed that Genus does not contend that First

                                  15   Databank will be more successful or have a monetary interest in whether customers of cocaine

                                  16   hydrochloride choose to buy C-Topical rather than Goprelto. Id. There were no allegations of a

                                  17   quid-pro-quo relationship between Lannett and First Databank, where First Databank would

                                  18   receive a kickback from sales of C-Topical that it would not receive from sales of Goprelto. Id. at

                                  19   27-28. Indeed, the allegations in the complaint suggested that First Databank’s interest was in

                                  20   having a comprehensive list of pharmaceutical products, not that any particular pharmaceutical

                                  21   product should be more successful than another. Id. at 28.

                                  22           Lannett has amended its complaint to provide more detail on how First Databank operates

                                  23   and the role of price lists in the pharmaceutical industry. FAC at ¶¶ 169-198. None of these

                                  24   allegations supports a finding that First Databank has any monetary interest in whether customers

                                  25   of cocaine hydrochloride choose to buy C-Topical rather than Goprelto. Accordingly, First

                                  26   Databank moves to dismiss.8 Defendant First Databank, Inc.’s Motion to Dismiss First Amended

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                                       8
                                  28    First Databank also makes a number of other arguments that I need not reach because the
                                       commercial speech issue is dispositive. Id. at 7-9.
                                                                                        24
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                                   1   Complaint (“FD MTD”) [Dkt. No. 66].

                                   2            Genus contends that First Databank falsely advertises that its database is “reliable” and

                                   3   “accurate.” Plaintiff Genus Lifesciences, Inc.’s Opposition to First Databank, Inc.’s Motion to

                                   4   Dismiss First Amended Complaint (“FD Oppo.”) [Dkt. No. 73] at 7-11. Count V states that:

                                   5                  First Databank is falsely and misleadingly advertising Lannett’s and
                                                      Cody’s CTopical in First Databank’s database as a “topical” route of
                                   6                  administration. First Databank falsely and misleadingly assigns a CFI
                                                      code to reflect the route of administration and falsely and
                                   7                  misleadingly assigns GOPRELTO® a different CFI code.
                                   8   FAC at ¶ 284. This claim is unrelated to First Databank’s alleged representations that its database

                                   9   is “reliable” and “accurate.”

                                  10          This argument fails on the merits as well. As First Databank contends, Genus cannot show

                                  11   a causal link between these general statements and its alleged injuries sufficient to confer standing

                                  12   under the Lanham Act. FD Reply at 2. To the extent that First Databank customers rely upon it in
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                                  13   making decisions, they are relying on the database itself, not generic statements about the pricing

                                  14   list as a whole. These general statements do not relate to C-Topical or Goprelto and cannot form

                                  15   the basis of Genus’s false advertising claims.

                                  16          In addition, courts have generally found that false advertising claims cannot be premised

                                  17   on these sorts of general statements of accuracy or reliability. Courts may determine as a matter of

                                  18   law whether a statement is puffery. Cook, Perkiss & Liehe, Inc. v. N. California Collection Serv.

                                  19   Inc., 911 F.2d 242, 245 (9th Cir. 1990) (“District courts often resolve whether a statement is

                                  20   puffery when considering a motion to dismiss pursuant to Federal Rule of Civil Procedure

                                  21   12(b)(6) and we can think of no sound reason why they should not do so.”). Courts analyzing

                                  22   whether a statement constitutes puffery examine whether it contains general assertions that say

                                  23   nothing about the specific characteristics or components of a product or whether it includes

                                  24   specific factual assertions. “The common theme that seems to run through cases considering

                                  25   puffery in a variety of contexts is that consumer reliance will be induced by specific rather than

                                  26   general assertions. Advertising which merely states in general terms that one product is superior

                                  27   is not actionable. However, misdescriptions of specific or absolute characteristics of a product are

                                  28   actionable.” Id. at 246 (citing Smith-Victor Corp. v. Sylvania Elec. Products, Inc., 242 F. Supp.
                                                                                        25
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                                   1   302, 308-09 (N.D. Ill. 1965) (advertiser's statement that its lamps were “far brighter than any lamp

                                   2   ever before offered for home movies” was ruled puffery. However, when the advertiser quantified

                                   3   numerically the alleged superior brightness with statements such as “35,000 candle power and 10–

                                   4   hour life,” the court found a potential Lanham Act claim)).

                                   5             The statements identified by Genus have been held to be non-specific puffery in other

                                   6   cases. See In re Seagate Tech. LLC Litig., 233 F. Supp. 3d 776, 793 (N.D. Cal. 2017) (“Use of

                                   7   terms like “quality,” “reliability,” and “performance” generally constitutes puffery.”). For the

                                   8   same reasons, First Databank’s general statements of accuracy and reliability are not actionable.

                                   9             Genus’s second argument concerning First Databank’s allegedly false statements about C-

                                  10   Topical’s route of administration was considered in detail in the Order. I will not revisit it here.

                                  11   Order at 25-30. Genus’s false advertising claim against First Databank is dismissed with

                                  12   prejudice.
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                                  13   III.      MOTION TO RECONSIDER ON CONTRIBUTORY FALSE ADVERTISING

                                  14             In the Order, I dismissed Genus’s contributory false advertising claim against First

                                  15   Databank with prejudice. Order at 30-33. I observed that it was unclear in this Circuit if

                                  16   contributory false advertising could apply to non-commercial speech in any context because the

                                  17   Lanham Act applies only to commercial speech. Id. at 30 (internal citations omitted). Even if it

                                  18   does, Genus’s claim fails under either the Eleventh Circuit’s contributory false advertising rule as

                                  19   articulated in Duty Free Ams., Inc. v. Estée Lauder Cos., 797 F.3d 1248, 1275 (11th Cir. 2015)9 or

                                  20   the test in ADT Sec. Servs., Inc. v. Sec. One Int’l, Inc., No. 11-cv-05149-YGR, 2012 WL 4068632,

                                  21   at *1 (N.D. Cal. Sept. 14, 2012). Id. at 31-33.

                                  22             The claim failed the test in Duty Free because Genus did not allege that First Databank

                                  23   directly controlled Lannett’s false advertising, was a dispositive factor in enabling Lannett’s false

                                  24   advertising, explicitly or implicitly encouraged Lannett’s false advertising, or refused to halt

                                  25   Lannett’s false advertising in bad faith. Id. at 32. I held that the allegations in the complaint did

                                  26   not suggest that First Databank’s conduct induced Lannett to represent its route of administration

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                                  28   9
                                           To date, no other court in the Ninth Circuit has applied the Duty Free test.
                                                                                           26
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                                   1   as “topical.” Id. I then found that First Databank failed the test articulated in ADT because Genus

                                   2   did not allege that First Databank intentionally induced the primary Lanham Act violation by

                                   3   Lannett or that First Databank continued to supply an infringing product to Lannett. Id. at 32-33.

                                   4   I observed that:

                                   5                  Although the tests in Duty Free and ADT. Sec. Servs. are different,
                                                      the same theory animates both: the party accused of contributorily
                                   6                  infringing essentially drives the infringing party’s conduct. Here,
                                                      Genus’s theory is the opposite. It cannot state a claim for contributory
                                   7                  false advertising under its preferred test or under First Databank’s
                                                      preferred test.
                                   8
                                       Order at 33.
                                   9
                                              Genus now moves for leave to file a motion for reconsideration, entry of partial judgment,
                                  10
                                       or to allow it to certify the issue for appeal to the Ninth Circuit. [Dkt. No. 55]. Genus argues that
                                  11
                                       the Ninth Circuit recently reaffirmed the broad legal standard for contributory liability as requiring
                                  12
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                                       only “material contribution.” Id. (citing VHT, Inc. v. Zillow Group, Inc., 918 F.3d 723 (9th Cir.
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                                  13
                                       2019)). According to Genus, this standard is in line with the “material participation” standard in
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                                       Duty Free and that it was error to require allegations that First Databank “caused” or “drove”
                                  15
                                       Lannett’s direct false advertising. Id.
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                                              In its proposed motion, Genus elaborates that in VHT, the Ninth Circuit broadly articulated
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                                       the standard for contributory liability in a copyright infringement case as follows: “Contributory
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                                       liability requires that a party (1) has knowledge of another’s infringement and (2) either (a)
                                  19
                                       materially contributes to or (b) induces that infringement.” Plaintiff Genus Lifesciences, Inc.’s
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                                       [Proposed] Motion for Reconsideration Pursuant to Civil Local Rule 7-9 or, Alternatively,
                                  21
                                       Certification for Appeal Pursuant to FRCP 54(b) and/or 28 U.S.C. § 1292(b) (Recon. Mot.) at 4
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                                       (citing VHT, 918 F.3d at 745 (internal quotation marks omitted)) [Dkt. No. 56-1]. Genus states
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                                       that this decision was published after Genus filed its previous opposition to First Databank’s first
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                                       motion to dismiss. Id. Were I to import the standard from VHT, Genus argues, its contributory
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                                       false advertising claim against First Databank would survive because “First Databank has control
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                                       over its database, it is one of the main channels through which Lannett propagated its false claims,
                                  27
                                       and First Databank controls the dissemination of Lannett’s false statements throughout its
                                  28
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                                   1   database.” Id. at 4-5.

                                   2            After Genus filed its motion to reconsider, I issued an order for response. [Dkt. No. 72].

                                   3   First Databank opposed because although VHT was not decided until after Genus filed its

                                   4   opposition, the opinion was issued weeks before oral argument and Genus did not raise the

                                   5   decision then. Id. at 1. More significantly, VHT is a copyright case, not a Lanham Act case, and

                                   6   the discussion on “material contribution” is specific to the context of copyright infringement. Id.

                                   7   First Databank states that it is unclear how the standard in VHT could be applied to a false

                                   8   advertising claim without collapsing the secondary claim into the primary false advertising claim.

                                   9   Id. It argues that Genus’s theory would “create potential Lanham Act liability for all publishers of

                                  10   non-commercial information based on allegations that the information they publish contributes to

                                  11   separate allegedly false advertising by third parties.” Id.

                                  12            VHT involved a professional real estate photography studio that brought a copyright
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                                  13   infringement action against the owner of a real estate marketplace website. 918 F.3d at 730. The

                                  14   plaintiff alleged that the owner’s use of photos on its website exceeded scope of studio’s licenses

                                  15   to brokers, agents, and listing services who provided photos to website. Id. The court held that in

                                  16   the copyright context, online material contribution to infringement by a “computer system

                                  17   operator” was proper “if it has actual knowledge that specific infringing material is available using

                                  18   its system, and can take simple measures to prevent further damage to copyrighted works, yet

                                  19   continues to provide access to infringing works.” Id. at 745 (internal citations omitted).

                                  20            I agree with First Databank that it is not clear that importing the material contribution

                                  21   standard from the online copyright context to Lanham Act false advertising claims makes sense.

                                  22   To do so would open up a vast and currently non-existent scope of liability for all publishers of

                                  23   non-commercial information. Copyright has its own body of law that is separate and apart from

                                  24   the Lanham Act; I decline to conflate the two. Genus’s motion for reconsideration is denied.10

                                  25   For the avoidance of doubt, Genus’s “placeholder” contributory false advertising claim is

                                  26
                                  27   10
                                         Genus also provides argument related to whether First Databank can be contributorily liable for
                                  28   Lannett’s false advertising without engaging in commercial speech itself. Recon Mot. at 6-7.
                                       Because the material contribution issue is dispositive, I need not reach this argument.
                                                                                        28
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                                   1   dismissed with prejudice.

                                   2          I also decline to enter partial judgment or to certify the issue for appeal. I agree with First

                                   3   Databank that Genus’s contributory false advertising claim overlaps with Genus’s false

                                   4   advertising claims against Lannett and Cody. Certification for appeal will delay the case and drive

                                   5   up the costs of the parties in violation of the principles of Federal Rule of Civil Procedure 1.

                                   6                                             CONCLUSION

                                   7          For the reasons stated above, Lannett and Cody’s motion to dismiss is granted in part and

                                   8   denied in part. Genus may amend its Lanham Act claims against Lannett and Cody. Its Sherman

                                   9   Act claims are dismissed with prejudice. First Databank’s motion to dismiss is also granted with

                                  10   prejudice. Genus’s motion for reconsideration is denied.

                                  11          IT IS SO ORDERED.

                                  12   Dated: September 3, 2019
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                                                                                                     William H. Orrick
                                  15                                                                 United States District Judge
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